Case 1:15-cv-01023-CBK Document 40-7 Filed 12/05/16 Page 1 of 3 PagelD #: 580

 

1 UNITED STATES DISTRICT COURT iz C:ONMENTS

2 OTSRORTHERN BEVISION 2 WETNESSES

3 3 PAGE
4 RonePro RY corporations? = 4 RICHARD WAGNER

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6 vs. 6

7 ayo a. South | Dakota 7

8 Hurt cipal fy, and WATERTOW an agency of 8 EXHIBITS

9 @ CITY OF WATERTOAN, 9
10 Defendants. 0 EXHIBIT NO. DESCRIPTION MARKED
i - (NONE)

13 13 <

14 DEPOSITION OF RECHARD WAGNER 14

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16 16

17 7
18 18
19 DATE: Tuesday, September 20, 2016 19
20 PLACE 20
A 4070" south uth 28th Ave Avenue a
22 TIME: a p.m. 22
23 REPORTED BY: Deanna L. Sager, R.P.R., R.M.R. 23 .
24 24
25 25
i 3

ne APPEARANCES 2 PROCEEDINGS

2 2 (Whereupon, the deposition of RICHARD
3 ene Pare: 3 WAGNER commenced at 3:17 p.m. as follows:)

4 auarneys at G paid cole, (bstsPe 4 RICHARD WAGNER,

5 eens oe 5 Be eee yea eae

S10ux 1s,_South Dakota 57108 THE WHOLE TRUTH, AND NOTHING BUT THE adda RELATIVE
6 By: Jefr 6 TO THE CAUSE SPECIFIED, TESTIFIED AS POLI
jco aw. com

7 ic EXAMINATION

8 FOR THE DEFENDANTS: 8 BY MR. COLE:

9 Atforneys 3 yy Wise, Sauck & Hieb, LLP 9 Q. Cayld you please state your name?
10 1 Court t 10 A. Richard wagner.
1 a South ta 57402 1 Q. Is it okay today if I refer to you as
2 iScueyech, 12 Richard?
13 jst a B A. Richard is fine.
14 14 Q. Okay. Richard, have you ever had your
15 15 deposition taken before?
16 16 A. 1 have not.
7 17 Q. If I ask you a question that you don't
18 18 understand, please tell me that. Otherwise I'm going
19 - 19 to assume that you understood the question. Is that
20 20 agreeable to you?

21 21 A. Yes.

22 22 Q. And I'll try to let you finish your
23 23 answer before I ask the next question, and I'd ask
24 24 you to let me ask you the question before you give
25 25 your answer so the court reporter can get everything

2 4

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just annotate your report for him after we're done
today with the sections that you're referring to on
the 10 States Standards?

THE WITNESS: I would think — = would
think we could do it in a couple hours.

MR. HIEB: All right, fine, we'll do
it.

Q. (rr. Cole continuing) Okay. Did you
read, as part of your analysis in this case, did you
read Darin Schriever's deposition?

A. Not thoroughly, but = did skim it.

Q. Did you read Darin Schriever's report?

MR. HIEB: That's it.

A. This one? Yes.

Q. Do you have any specifics where you
disagree with what Darin put in his report?

A. TI guess I should back up. = read the
report, but I did not necessarily go through the
Financial data in here. As far as your other
question about any areas I disagreed with his report,
I did not disagree with it. I used his report
primarily as information source. And that's what I
used when I prepared my document.

Q. Darin has the opinion or had the
opinion that Sioux could add customers on what we're

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referring to here as the west side.
disagree with that?

A. Based on the — based on the treatment
capacity that I was Ted to believe in this report,
they are -- would be short of water during
peak — instantaneous peak demand periods.

Q. Okay. Are you aware of the pipeline
‘improvements that Sioux was going to make on the west
side?

Do you agree or

A. There was some reference to those
‘improvements, but I did not look at the improvements
that they were proposing. I looked at the existing
or current system as it sits now.

Q. And I'll tell you that it’s been
represented to me that those improvements, as far as
the pipelines and the pumping stations, have been
completed on the west side. Okay? You didn't do any
analysis of what the ability to serve would be once
those improvements were made.

A. I did not.

Q. And one of the things that’s noted in
your report is pressure problems on the west side.

A. Correct.

Q. With these improvements, you can't say
one way or the other whether those pressure problems

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are still there; correct?

A. That's correct.

Q. which means that Sioux may very well,
even in your opinion, be able to serve new austomers
on the west side with these improvements being made;
correct?

A. With proper improvements they cutd add

the distribution system.

Q. Do you have any facts that have been
brought to your attention or do you know any facts
that suggest that Sioux hasn't been able to serve any
of its current customers on the west side?

A. = don’t have any of that infomation.

Q. Do you have any information that
Sioux's not been able to serve its customers on the
east side of watertown?

A. TI don't have any of that infomation.

Q. One of the things that was discussed in
this report was fire flow. You understand that?

A. Ido.

Q. Who told you to include fire flow as a
consideration?

A. The fire flow is — well, was factored
‘into the users on the east side of watertown. And
because they — because I was under the impression

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users on

that since they currently have fire flow, the fire
flow discussion should be included.

Q. Do you know, with the rural water
systems that you work with, is it your understanding
that they're required to provide fire flow?

A. No.

Q. It's your understanding that they're
not required to provide fire flow; correct?

A. Correct.

Q. But in this report you included fire
Flow. True?

A. Correct.

Q. why did you do that?

A. There are current users — or there are
users that Sioux Rural water is Tooking to add to
their system, and those users who are getting water
from Watertown do have a fire Flow demand or
requirement. So if those users are being — are to
be served by Sioux Rural water, it should be a
consideration or at Teast allow Sioux Rural water the
option to inform those potential new users that they
will not be getting fire flow from Sioux Rural water.

Q. Don't you agree that those customers
that you've identified on the east side, or potential
customers, that are actually being served by

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MR. COLE: Can you go back and read the
question that we're at issue here? 1‘m sorry to make
you do that.

WR. HEEB: Z& think the question is, "Do
you think that’s fair?” That's the question.

THE COURT REPORTER: “Do you think
that's fair?”

A. = don't know if 5 have an opinion on if
tr can say is that I was
specific task, and that's what r did.

Q.  @ir. Cole continuing) well, you're
analyzing Sioux's capacity to serve; right?

A. We revieved the ability to serve, yes.

Q. And Sioux's made some improvements to
their facilities in that area; true?

A. According to you, they have. 1 don't
know that for a fact.

Q. That's true according to me. But I've
been told that they've been made and they‘re actually
using it right now.

A. Oky.

Q. That’s relevant to the issue of the
ability to serve customers in that area, isn't it?

MR. HIEB: I object. That calls for a
legal conclusion. Go ahead.

twas Tair or not. A

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A. If they made improvements, those
‘Improvements would affect the ability to serve those
users.

Q. Okay. And Darin Schriever has opined
that he believes that with these improvements Sioux
would be able to serve 200 additional customers in
that west side area. Do you agree or disagree with
that?

A. have no opinion on that.

Q. Okay. when you, in your report in
Table 7 here on page 12 and 13, when you say capacity
appears to deficient, is that based on the
10 States Standards?

A. In som cases.

Q. Okay. which cases?

A. So, let's see, the first one is the
filters it looks like. ‘That one references 10 states
Standards in the fact that 10 States Standards says
that if you only have two filters, each filter needs
to be able to meet the maximum day demand. In this
case it requires both filters to meet the maximum day
demand.

Q. So that one's based on the 10 States
Standards.

A. Yes.

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Q. Then how about the one underneath that
says it starts with 400 gpn.

A. The — yeah, I do reference 10 states
Standards there. And in thet case they — in that
case the water trestment plent is not sized to meet
10 States Standards —- excuse ma, not sized to mest
maximm day demand.

Q. Per the 10 States Standards?

A. TZ believe so. =F would have to
re-review that to verify that.

Q. And then the next one is 450 gpm.
“Capacity appears deficient. exceeds filter loading
rate of 400 gpm. Manganese breakthrough per WSAR.”
What's that one based on?

A. That's based on treatment objectives.
Assumed treatment objectives of Sioux Rural water.

Q. And manganese, as I understand it,
you've noted in your report is a cosmetic issue.

A. That's correct.

Q. It doesn't affect the safety of the
drinking water.

A. It does not.

Q. Then we go to page 13. west side.
Capacity appears deficient. That's also based on the
10 States Standards?

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A. Yes.

Q. Then on the east side it says,
“Acceptability of capacity is unknown.”

A. Correct.

Q. And on the fire flow demands you say
the capacity appears deficient, but that's not based
on the 10 States Standards, is it?

A. No.

Q. That's based on what you were told to
analyze; correct?

A. That -- yeah, that was based on the
ability to provide an assumed fire flow. Z don't
know how much fire flow they would be able to provide
so it's...

Q. And same thing with regard to the east
True?

A. Correct.

Q. The filtration capacity issue that
you've identified here, that's an issue that can be
addressed by a rural water provider, isn't it?

A. With improvements?

Q. Yeah,

A. Yeah, you can make improvements and you
can -- yeah,

Q. And it's a pretty quick fix, isn't it?

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side.

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